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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 20-22316-CIV-SINGHAL

  JULIE GOLD,
  on behalf of herself and all others similarly situated,

         Plaintiff,

  v.

  UNIVERSITY OF MIAMI,

       Defendant.
  ____________________________________________/

                               ORDER TO SHOW CAUSE AND
                              SETTING STATUS CONFERENCE

         THIS CAUSE is before the Court upon the Notice of Pending, Refiled, Related or

  Similar Actions (DE [9]) filed by Defendant, University of Miami. The Court has carefully

  reviewed the record and is otherwise fully advised in the record.

         Federal Rule of Civil Procedure 42(a) authorizes the district court to consolidate

  cases when the cases involve common questions of law or fact. “This rule is a codification

  of a trial court's inherent managerial power ‘to control the disposition of the causes on its

  docket with the economy of time and effort for itself, for counsel and for litigants.’” Hendrix

  v. Raybestos-Manhattan, Inc., 776 F.2d 1492, 1495 (11th Cir. 1985) (citations omitted).

  It appears that the following actions, now all pending before the undersigned, are

  appropriate for consolidation according to the considerations set forth by the Eleventh

  Circuit in Hendrix:

             1.   Dimitryuk v. University of Miami, Case No. 20-60851-CIV-SINGHAL
             2.   Weiss v. University of Miami, Case No. 20-22207-CIV-SINGHAL
             3.   Gold v. University of Miami, Case No. 20-22316-CIV-SINGHAL
             4.   Dixon v. University of Miami, Case No. 20-22549-CIV-SINGHAL
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  Accordingly, it is hereby

         ORDERED AND ADJUDGED that Plaintiff shall show cause by July 24, 2020 why

  these actions should not be consolidated. Additionally, a joint status conference will be

  held via Zoom on July 29, 2020 at 11:00 a.m. Parties can access the Zoom conference

  with Meeting ID: 161 436 9153; Password: 4343.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 10th day of

  July 2020.



  Copies furnished counsel via CM/ECF




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